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                        Entered on Docket
                  5December 17, 2019
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                            Telephone (725) 777-3000
                    13      Facsimile (725) 777-3112
                            Attorneys for Debtor
                    14
                                                       UNITED STATES BANKRUPTCY COURT
                    15
                                                            FOR THE DISTRICT OF NEVADA
                    16

                    17      In re:                                             Case No.: BK-19-15172-ABL
                                                                               Chapter 11
                            NATIONAL MERCHANDISING SERVICES,
                    18                                                         Jointly administered with:
                            LLC
                    19
                                     Affects this Debtor.                      Edward Steven Burdekin,
                    20                                                            Case No. BK-19-15175-ABL; and
                                                                               National Store Retail Services, LLC,
                    21               Affects all Debtors.                           Case No. BK-19-15174-ABL
                    22
                                     Affects Edward Steven Burdekin.           Date: N/A
                    23
                                                                               Time: N/A
                    24                                                         Place: 300 Las Vegas Blvd.
                                     Affects National Store Retail Services,
                                     LLC.                                             Las Vegas, NV
                    25                                                                Courtroom 1
                    26
                             ORDER APPROVING STIPULATION TO EXTEND TIME TO ASSUME OR REJECT
                    27                    NONRESIDENTIAL REAL PROPERTY LEASE

                    28               National Merchandising Services, LLC (“NMS”), by and through their counsel, the law
Garman Turner Gordon
 650 White Dr., Suite 100
Las Vegas, Nevada 89119
     (725) 777-3000
                                Case 19-15172-abl            Doc 90       Entered 12/17/19 13:31:04               Page 2 of 2


                      1     firm of Garman Turner Gordon LLP, and Edward Steven Burdekin (“Burdekin”) and National

                      2     Store Retail Services, LLC (“NSRS”), by and through their undersigned counsel, having filed their

                      3     Stipulation to Extend Time to Assume or Reject Nonresidential Real Property Lease (the

                      4     “Stipulation”)1; the Court having reviewed and considered the Stipulation, as good cause

                      5     appearing;

                      6                IT IS HEREBY ORDERED:

                      7                1.       The Stipulation is approved.

                      8                2.       The Deadline for NMS and NSRS to assume or reject the Lease pursuant to 11

                      9     U.S.C. § 365 is extended to the sooner to occur of confirmation of a plan of reorganization in the

                    10      Chapter 11 Cases or March 9, 2020.

                    11                 IT IS SO ORDERED.

                    12          GARMAN TURNER GORDON LLP                             WIGGAM & GEER

                    13
                                By: /s/ William M. Noall                             By: /s/ Will B. Geer
                    14             WILLIAM M. NOALL, ESQ.                               WILL B. GEER, ESQ. (PRO HAC VICE)
                                   GABRIELLE A. HAMM, ESQ.                              50 Hunt Plaza, SE, Suite 1245
                    15             650 White Drive, Suite 100                           Atlanta, Georgia 30303
                                   Las Vegas, Nevada 89119
                    16             Attorneys for Debtor National                     and
                                   Merchandising Services, LLC
                    17                                                               ANDERSEN LAW FIRM, LTD.
                                                                                       RYAN ANDERSEN, ESQ.
                    18                                                                 101 Convention Center Drive, Ste. 600
                                                                                       Las Vegas, Nevada 89101
                    19
                                                                                         Attorneys for Edward Burdekin and National
                    20                                                                   Store Retail Services, LLC

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                    26      4831-3746-9614, v. 2


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                    28          Unless otherwise indicated, all capitalized terms herein shall have the same meanings as set forth in the Stipulation.

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Las Vegas, Nevada 89119
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